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FilegQ3/39/15 Fags 4 of 24PagelD ¢:02q. wal) Ke,
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Judge John W. Darrah
-V5- Magistrate Judge Jeffrey T. Gilbert
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Case: 1:15-cv-02855 Doo (tes Area: 03/30/15 Page 2 of 22 PagelD #:2

  

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Case: 1:15-c von ges) d: 03/30/15 Page 3 of 22 PagelD #:3

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Case: 1:15-cv-02855 Do offtelages 5Ple d: 03/30/15 Page 5 of 22 PagelD #:5

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Case: 1:15-cv-02855 De chlapect 6) Fi Filed: 03/30/15 Page 6 of 22 PagelD #:6

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Case: 1:15-cv-02855 pocuntertagErtpy) 03/30/15 Page 7 of 22 PagelD #:7

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A) Hs sabe Lal
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Case: vas-ov-o285f Player) Filed: 03/30/15 Page 9 of 22 PagelD #:9

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(Coiled by faye )

 

 

 

 

 
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ayaa Hut S nibh sale
2 fo ay 1. (Coiled Bu Page’) og

 
        
 
 

 

Case: 1:15-cv-02855 écfaseoa!) 1 Filed: 03/30/15 Page 11 of 22 PagelD #:11

 

 

 

 

 

 

31) by, Alt. wh 2-3-20/ 356 Hmpeson. ZT:
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ae aul ie re ith hea, in Sh"
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pouste Fk ‘He Up

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: 1:15-c v.0266/bpcutteyl # 1 Filed: 03/30/15 Page 12 of 22 PagelD #:12

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5) Du, Ya de patina ‘suufuee puss Jesuse

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U Papas He ee , ; uy
Tbk ae y adie,

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1:15, 55 Do Ros Page 13 of 22 P ID #:13
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1: 55 (hge 45.2. 03/30/15 Page 15 of 22 PagelD #:15
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gis ag Tala Mie ie, rel’

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63) We gl) Zi a ful so ial
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Case: 1:45-cv-02855/pocument #1 F At: (iad Pa pif. of 22 Pa tiga
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Case: 1:15-c Sama Cnoetti\s ra age 19 of 22 PagelD #:19
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Case: 1:15-cv ous (fag ML JN) 03/30/15 Page 21 of 22 PagelD #:21

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ae his Daal My ay de tt tledl tp g land thes

Cou hon Ly wd Mlk: bu: i a 4.1068

7 6444

 

 

 

 
 

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